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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                             Case No.: 1:07-CR-018-SPM/AK

BUBBA JACK HURLEY ,

           Defendant.
________________________________/

                       ACCEPTANCE OF GUILTY PLEA

      PURSUANT TO the Report and Recommendation (doc. 100) of the United

States Magistrate Judge, to which there have been no timely objections, and

subject to the Court’s consideration of any Plea Agreement pursuant to Federal

Rule of Criminal Procedure 11(e)(2), the plea of guilty of the Defendant, BUBBA

JACK HURLEY, to Count One of the indictment is hereby ACCEPTED. All

parties shall appear before this Court for sentencing as directed.

      DONE AND ORDERED this eighteenth day of December, 2007.




                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
